                 Case: 18-14846       Doc: 52    Filed: 03/22/19    Page: 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                         Case No.: BK-18-14846-JDL
JUDITH DARLENE SNOW,                                     Chapter 13

         DEBTOR.


              RESPONSE TO AMENDED OBJECTION TO CLAIM BY DEBTOR

         Comes now the secured creditor, QUICKEN LOANS INC., by their attorney, Matthew J.

Hudspeth, and responds to the Amended Objection to Claim Number 1 (Doc 48) filed by the Debtor

on March 13, 2019:

         On March 4, 2019, Quicken Loans Inc. (“Quicken”) filed an Amended and Supplemental

Response to Objection to Claim (the “Amended Response”)(Doc. 34) 1.                The Amended

Response attached an Affidavit from counsel for Quicken. The Affidavit, in turn, attached

detailed time records reflecting a detailed itemization of the date work was performed, the work

performed, time required, hourly rate and total fees associated with the fees sought in Quicken’s

Proof of Claim #1.

         On March 13, 2019, Judith Snow (“Debtor”) filed an Amended Objection to Proof of

Claim No. #1 (the “Amended Objection”)(Doc. 48). In the body of the Amended Objection,

Debtor cites State ex rel. Burk v. City of Oklahoma City, 1979 OK 115, 598 P.2d 659, and more

than thirty other cases as authority for the universally known rules of Oklahoma law governing

the award of attorney fees. Although Debtor’s “Argument and Authority” repeatedly references a

lack of “detailed time records,” Debtor fails to explain how Quicken’s Amended Response and

the evidence attached thereto is deficient.


1
    The Amended Response and evidence attached thereto is incorporated herein by reference.
               Case: 18-14846        Doc: 52       Filed: 03/22/19    Page: 2 of 5




       Debtor waits until the “Summary” to give a hint into the exact nature of Debtor’s

objection in this particular case, explaining: “. . . Oklahoma law requires detailed time records to

support [an attorney fee] award. Upon information and belief, [Quicken] has no such records.

[Quicken] cannot attest with certainty exactly how much time was required in the above

captioned case.” (emphasis added).

       Thus, it appears that the precise issue that Debtor is presenting to the Court in this action

is whether it is permissible under Oklahoma law for an attorney to make a backward-looking

estimation of the amount of time it took to perform a given task when seeking an award of

attorney fees. Interestingly, this question was answered in Burk, the very case Debtor cites as

“Oklahoma’s seminal case on attorney fees . . .”

       In Burk, the disputed attorney fee award was based on an attorney fee awarded to a law

firm that did not keep any time records during the course of the underlying litigation. During the

trial court attorney fee application process, the law firm completely reconstructed the number of

hours it had expended in the case based on a review of the firm’s files and court files, concluding

that the firm had spent approximately 2,500 hours on the case. On appeal, “[t]he sole issue [was]

whether or not the attorney’s fees of $225,000.00 awarded by the trial court [was] excessive.”

Id. at 660. In affirming the trial court in part, the Oklahoma Supreme Court did not even

question the appropriateness of allowing a firm to reconstruct time records or make estimations

of the amount of time it took to perform the tasks reflected on the reconstructed records.

       The appropriateness of considering reconstructed time records was affirmed more than

twenty years later in Usrey v. Wilson, 2003 OK CIV APP 25, 66 P.3d 1000. In Usrey, the trial

court denied the prevailing party’s application for attorney fees. Id. at 1002. During the fee

application hearing, the prevailing party’s attorney testified about the time he spent on the case

as a whole and his normal hourly rate, but produced no other documentation corroborating the
               Case: 18-14846          Doc: 52   Filed: 03/22/19     Page: 3 of 5




time spent on specific tasks.    Id.    The trial court concluded that the prevailing party had

presented sufficient evidence on the reasonableness of the fee but had failed to present “detailed

time records” to support the fee request as to work performed outside of conducting the trial. Id.

       Citing Burk as approval, the Court of Civil Appeals stated that it is permissible under

Oklahoma law to base an attorney fee award “. . . on a reconstruction of the time spent on a case

based upon other records which verify the activity in the case, such as the court file or the

attorney’s copies of letters, pleadings or file memoranda.” Id. The Court concluded, however,

that it was inappropriate to make an attorney fee award based “. . . only on general estimates of

the amount of time spend [making] no attempt to demonstrate the date of services or even the

specific nature of services performed. Id. at 1002.

       Subsequent to Burk and Usrey, an attorney fee award based on reconstructed time was

specifically recognized and allowed in Spencer v. Oklahoma Gas & Elec. Co., 2007 OK 76, n.

20, 171 P.3d 890; and Young v. Spencer, 2017 OK CIV APP 58, 405 P.3d 701.

       Reduced to its core, Debtor contends that a creditor cannot obtain an attorney fee award

in the absence of evidence that the amount of time it took to perform a specific task was recorded

“contemporaneously” with the task that was performed.           The cases cited supra squarely

contradict Debtor’s position. Over a span of nearly 40 years, Oklahoma appellate courts have

consistently approved the practice of awarding attorney fees based on reconstructed time records.

The “reconstruction” of attorney time records necessarily implies that the specific amount of

time it took to perform a task has been estimated based upon the attorney’s experience,

sometimes years after the task was performed. In the case at bar, Quicken has provided detailed

time records reflecting a detailed itemization of the date work was performed, the work

performed, time required, hourly rate and total fees. Accordingly, Quicken’s request is in full

compliance with Burk and its progeny.
               Case: 18-14846        Doc: 52     Filed: 03/22/19     Page: 4 of 5




       WHEREFORE, PREMISES CONSIDERED, QUICKEN LOANS INC. prays this Court

deny the Amended Objection; and for such further relief as this Court deems appropriate.

                                                     QUICKEN LOANS INC.




                                     By:         s/ Matthew J. Hudspeth
                                                 MATTHEW J. HUDSPETH - #14613
                                                 JIM TIMBERLAKE - #14945
                                                 Baer Timberlake, P.C.
                                                 4200 Perimeter Center, Suite 100
                                                 Oklahoma City, OK 73102
                                                 Telephone: (405) 842-7722
                                                 Fax: (918) 794-2768
                                                 mhudspeth@baer-timberlake.com
                                                 Attorney for Creditor
               Case: 18-14846       Doc: 52     Filed: 03/22/19     Page: 5 of 5




                                CERTIFICATE OF SERVICE

       I hereby certify that I mailed a true and correct copy of the above and foregoing Response
with postage thereon fully prepaid to the parties listed below on March 22, 2019.

Judith Darlene Snow
1713 Hampton Dr.
Oklahoma City, OK 73115

        The following persons should have received notice of the above and foregoing instrument
on the same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
Sansone Howell PLLC
Arvest Bank Tower, Suite 500
4600 SE 29th St
Del City, OK 73115


                                    By:         s/ Matthew J. Hudspeth
                                                MATTHEW J. HUDSPETH - #14613
                                                JIM TIMBERLAKE - #14945
                                                Baer Timberlake, P.C.
                                                4200 Perimeter Center, Suite 100
                                                Oklahoma City, OK 73102
                                                Telephone: (405) 842-7722
                                                Fax: (918) 794-2768
                                                mhudspeth@baer-timberlake.com
                                                Attorney for Creditor
